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5
     Attorney for RANI RACHANA SINGH-LAL
6    Defendant
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8
                           IN THE UNITED STATES DISTRICT COURT
9
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                   No. 2:12-CR-00027-GEB
12
                      Plaintiff,
13
            v.                                  REQUEST TO MODIFY CONDITIONS OF
14                                              PRETRIAL RELEASE TO ALLOW TRAVEL
     RANI RACHANA SINGH-LAL,                    and (PROPOSED) ORDER
15
                      Defendant.
16

17          The defendant, Rani Rachana Singh-Lal, by and through her counsel, hereby
18   requests that the special conditions of pretrial release imposed on January 30, 2012,
     shall be modified to allow her to travel on a cruise ship from Los Angeles, California, to
19
     the Mexican Riviera, and return, during the period from December 22, 2013, through
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     December 29, 2013.
21
            This journey is considered a “closed loop” by the cruise ship company and a
22
     passport is not required. This journey will be in the company of, and at the cost of, the
23
     family of the defendant’s fiancé. The defendant’s reporting date to commence service of
24
     a sentence of imprisonment is January 10, 2014.
25
            Pretrial Services Officer Renee Basurto reports that the defendant is in full
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     compliance with all conditions of release, but defers to this Court regarding this request
27
                                                  ///
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                                                  1
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1
     for international travel. Counsel for the Government, Philip A. Ferrari, Assistant United
2
     States Attorney, does not oppose this request.
3

4
     Dated: November 12, 2013                         /s/ Candace A. Fry
5                                                     CANDACE A. FRY, Attorney for
                                                      RANI RACHANA SINGH-LAL,
6                                                     Defendant
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9
                                            ORDER
10

11   IT IS SO ORDERED.

12   Dated: November 13, 2013.

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                                       EDMUND F. BRENNAN
15                                     UNITED STATES MAGISTRATE JUDGE

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